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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------x
                                                                :
 In re                                                          :   Chapter 11
                                                                :
 BLOCKBUSTER INC., et al.,1                                     :   Case No. 10-14997 (BRL)
                                                                :
                                                                :   (Jointly Administered)
                   Debtors.                                     :

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      ORDER PURSUANT TO 11 U.S.C. §§ 105(a), 363, AND 365 AND FED. R. BANKR. P.
      2002, 6004, 6006 AND 9014 AUTHORIZING AND APPROVING (A) THE SALE OF
      DEBTORS’ ASSETS FREE AND CLEAR OF INTERESTS AND (B) PROCEDURES
     FOR THE ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS AND
                        UNEXPIRED LEASES TO THE PURCHASER

          Upon the Motion, dated February 21, 2011,2 of Blockbuster Inc. and its debtor affiliates,

 as debtors and debtors in possession (collectively, “Blockbuster”, or the “Debtors”), pursuant to

 11 U.S.C. §§ 105, 363, 364(c)(1) and 365 and Fed. R. Bankr. P. 2002, 4001, 6004, 6006, and

 9014 for (I) an order authorizing and approving, among other things, (A) Bid Procedures in

 connection with the sale of substantially all of the Debtors’ assets (the “Assets”), (B) the notice

 of sale, auction and sale hearing (the “Sale Notice’), (C) Assumption Procedures and

 Assumption, Assignment and Cure Notices, (D) incurrence of sale-related Administrative

 Priority Claims and related liens, and (E) imposition of an injunction enjoining any collection

 efforts (the “Administrative Stay”) with respect to the payment of administrative expenses

 1
      The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are:
      Blockbuster Inc. (5102); Blockbuster Canada Inc. (1269); Blockbuster Digital Technologies Inc.
      (9222); Blockbuster Distribution, Inc. (0610); Blockbuster Gift Card, Inc. (1855); Blockbuster Global
      Services Inc. (3019); Blockbuster International Spain Inc. (7615); Blockbuster Investments LLC
      (6313); Blockbuster Procurement LP (2546); Blockbuster Video Italy, Inc (5068); Movielink, LLC
      (5575); Trading Zone Inc. (8588); and B2 LLC (5219).
 2
      Capitalized terms used herein but not defined herein shall have the meaning ascribed to such terms in
      the Motion, the Bid Procedures Order or the Purchase Agreement (as defined herein), as applicable.
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 during the period from the Commencement Date through February 24, 2011 (the “Pre-Sale

 Period”); and (II) an order (A) authorizing and approving the sale, and transactions related

 thereto, of the Debtors’ Assets free and clear of all liens, claims and encumbrances (the “Sale

 Transaction”) to DISH Network Corporation, the Successful Bidder at the conclusion of the

 Auction (hereinafter, and together with any permitted assignee under the Purchase Agreement,

 the “Purchaser”), (B) authorizing and approving the assumption and assignment of certain

 executory contracts and unexpired leases (collectively, “Contracts”) to the Purchaser, and

 (C) granting related relief; and the Court having entered an order on March 17, 2011 (Docket No.

 1223) (the “Bid Procedures Order”) approving, inter alia, (i) Bid Procedures, (ii) the Expense

 Reimbursement, (iii) the Sale Notice, and (iv) the Assumption Procedures and related notice; and

 the Auction having been held beginning on April 4, 2011 and concluding on April 6, 2011 for

 the consideration of Qualified Bids and the selection of a Successful Bidder (all as provided in

 the Bid Procedures Order); and the Purchaser having submitted the highest or otherwise best

 offer in the form of that certain Asset Purchase and Sale Agreement by and among Blockbuster

 Inc., the debtor subsidiaries party thereto and the Purchaser, dated April 6, 2011 (as amended, the

 “Purchase Agreement”) and the Ancillary Agreements (as defined below); and upon the Court’s

 consideration of the Motion, the Purchase Agreement, a copy of which is attached hereto as

 Exhibit “A”, and the record of the hearing held on April 7, 2011 with respect to the Motion (the

 “Sale Hearing”) (at which time all interested parties were offered an opportunity to be heard

 with respect to the Motion), including the testimony and evidence admitted at the Sale Hearing;

 and the record of the hearing held on April 14, 2011 with respect to this Sale Order; and it

 appearing that the relief requested in the Motion is in the best interests of the Debtors, their

 estates, their stakeholders and all other parties-in-interest; and it appearing that the Court has




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 jurisdiction over this matter; and it further appearing that the legal and factual bases set forth in

 the Motion and at the Sale Hearing establish just cause for the relief granted herein; and after due

 deliberation thereon,

         IT IS HEREBY FOUND AND DETERMINED THAT:3

         A.      Jurisdiction and Venue. This Court has jurisdiction to consider the Motion

 under 28 U.S.C. §§ 157 and 1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue

 of these cases and the Motion in this District is proper under 28 U.S.C. §§ 1408 and 1409.

         B.      Statutory Predicates. The statutory predicates for the relief sought in the Motion

 are Bankruptcy Code sections 105(a), 363, 364(c)(i), and 365, Bankruptcy Rules 2002, 6004,

 6006, and 9014 and the applicable Local Rules for the United States Bankruptcy Court for the

 Southern District of New York (the “Local Rules”).

         C.      Notice. As evidenced by the affidavits of service and publication filed with this

 Court and based upon the representations of counsel at the Sale Hearing: (i) due, proper, timely,

 adequate and sufficient notice of the Motion, the Bid Procedures, the Objection Deadline, the

 Auction, the Sale Hearing and the Sale Transaction, including the proposed assumption and

 assignment of any Designated Contracts (as defined below) by the Stalking Horse Bidder prior to

 the date hereof and the Cure Amounts (as defined below) with respect thereto, has been provided

 in accordance with the Bid Procedures Order; (ii) that no other or further notice need be provided

 (except as provided under paragraph 8 below); and (iii) such notice was and is good, sufficient

 and appropriate under the circumstances of the Debtors’ chapter 11 cases.

         D.      Opportunity to Object. A reasonable opportunity to object and to be heard with

 respect to the Sale Transaction, the Motion and the relief requested therein has been given to all

 3
     Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as
     findings of fact to the fullest extent of the law. See Fed. R. Bankr. P. 7052.



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 interested persons and entities, including, without limitation, the following: (i) the U.S. Trustee,

 (ii) the DIP Lenders, (iii) the DIP Agent, (iii) the Creditors’ Committee, (iii) the Steering

 Committee, (iv) the Senior Secured Indenture Trustee, (v) the Senior Subordinated Indenture

 Trustee, (vi) the Stalking Horse Bidder, (vii) the Ad Hoc Studio Committee; (viii) all State

 attorney generals in States in which the Debtors conduct business; (ix) various federal and state

 tax authorities, including the Internal Revenue Service; (x) all known creditors of the Debtors

 and all entities known to have asserted any claims against the Assets or the Debtors’ interest in

 the Assets and other entities known to have asserted a lien, interest or encumbrance in or upon

 the Assets, (xi) all counterparties to Designated Contracts, (xii) the Office of the United States

 Attorney for the Southern District of New York, (xii) all persons, if any, who have filed

 objections to the Motion, and (xiii) all persons who have filed a notice of appearance in these

 chapter 11 cases.

        E.      Auction. The Debtors engaged in a reasonable and appropriate marketing of the

 Assets. Potential bidders had a full, fair and reasonable opportunity to submit bids and

 participate in the Auction. The Debtors considered any bids submitted before, on and after the

 Bid Deadline. The Auction was conducted fairly and in good faith, without collusion and in

 accordance with the Bid Procedures Order, and afforded a full, fair and reasonable opportunity

 for any party to make a higher or otherwise better offer to purchase the Assets and assume all of

 the Assumed Liabilities. At the Auction, Purchaser was selected as the Successful Bidder. The

 Debtors’ determination (in consultation with the Creditors’ Committee and Senior Secured

 Indenture Trustee) that the Purchase Agreement constitutes the highest and best offer for the

 Assets constitutes a valid and sound exercise of the Debtors’ business judgment. Further, the

 Debtors, in the exercise of their business judgment, in determining the Successful Bid,




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 appropriately took into account that a critical consideration was which bid would provide the

 greatest net proceeds available for distribution to creditors by the estates after payment of, inter

 alia, the Carve-Out Expenses, the Critical Expenses, the Estimated Wind Down Expenses, the

 Administrative Priority Expenses and the Expense Reimbursement. Similarly, the Debtors, in

 the valid and sound exercise of their business judgment, appropriately weighed the above criteria

 in determining that the bid (as such bid was further amended or modified at the Auction)

 submitted by Cobalt Video Holdco LLC, with an outside closing date of April 27, 2011 (the

 “Cobalt Bid”), (i) was the next highest and best bid submitted at the Auction, and (ii) should

 serve as the Back-Up Bid.

        F.      Arm’s-Length Sale. The Purchase Agreement and any related agreements

 thereto, including, without limitation, a purchase or other similar transfer agreement relating to

 the equity interest of Blockbuster Canada Co. on terms to be agreed by the Debtors and

 Purchaser pursuant to the Purchase Agreement (collectively, the “Ancillary Agreements”), were

 or will be negotiated, proposed and entered into by the Debtors and the Purchaser without

 collusion, in good faith and from arm’s-length bargaining positions. None of the Debtors, the

 Purchaser or their respective Affiliates or Representatives (each as defined in the Purchase

 Agreement) has engaged in any conduct that would cause or permit the Purchase Agreement or

 any Ancillary Agreements to be avoided under Bankruptcy Code section 363(n) or has acted in

 any improper or collusive manner with any person. The terms and conditions of the Purchase

 Agreement, Ancillary Agreements and the Sale Transactions, including, without limitation, the

 consideration provided in respect thereof, are fair and reasonable and may not be avoided under

 Bankruptcy Code section 363(n).




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         G.      Good Faith Purchaser. Neither the Purchaser, its Affiliates and their respective

 representatives is an “insider” of any of the Debtors as that term is used in section 101(31) of the

 Bankruptcy Code. The Purchaser, its Affiliates and their respective Representatives have

 proceeded in good faith and without collusion in all respects in connection with this proceeding.

 Such persons are therefore entitled to all of the benefits and protections of Bankruptcy Code

 section 363(m). Accordingly, the reversal or modification on appeal of the authorization

 provided herein to consummate the Sale Transaction shall not affect the validity of the Sale

 Transaction (including, without limitation, the Ancillary Agreements and the assumption and

 assignment of the Purchaser Assumed Contracts to Purchaser, unless such authorization is duly

 stayed pending such appeal prior to the Closing).

         H.      Corporate Authority. The Debtors (i) have full corporate power and authority to

 execute the Purchase Agreement, Ancillary Agreements and all other documents contemplated

 thereby, and the Sale Transaction has been duly and validly authorized by all necessary corporate

 action, (ii) have all of the corporate power and authority necessary to consummate the Sale

 Transaction, (iii) have taken all corporate action necessary to authorize and approve the Purchase

 Agreement, Ancillary Agreements and the Sale Transaction, and (iv) no consents or approvals,

 other than those expressly provided for in the Purchase Agreement and Ancillary Agreements,

 are required to consummate such Sale Transaction.

         I.      Sale in Best Interests. Good and sufficient reasons for approval of the Purchase

 Agreement, Ancillary Agreements and the Sale Transaction have been articulated, and the relief

 requested in the Motion is in the best interests of the Debtors, their estates, their creditors and

 other parties in interest.




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         J.      Business Justification. The Debtors have demonstrated both (i) good, sufficient

 and sound business purposes and justifications and (ii) compelling circumstances for the Sale

 Transaction other than in the ordinary course of business under Bankruptcy Code section

 363(b)(1) before, and outside of, a plan of reorganization in that, among other things, the

 immediate approval by the Bankruptcy Court of the Sale Transaction with the Purchaser is

 necessary and appropriate to maximize the value of the Debtors’ estates, particularly given the

 wasting nature of the Assets. Entry of an order approving the Purchase Agreement and the

 Ancillary Agreements, and all the provisions thereof is a necessary condition precedent to the

 Purchaser’s consummation of the Sale Transactions.

         K.      Consideration. The consideration provided by the Purchaser to the Debtors

 pursuant to the Purchase Agreement constitutes reasonably equivalent value or fair and adequate

 consideration under the Bankruptcy Code, the Uniform Fraudulent Transfer Act, the Uniform

 Fraudulent Conveyance Act and the laws of the United States, any state, territory, possession

 thereof or the District of Columbia. The Purchase Agreement represents a fair and reasonable

 offer to purchase the Assets under these circumstances, and was not entered into for the purpose

 of, nor does it have the effect of, hindering, delaying or defrauding creditors of any of the

 Debtors under any applicable laws. Approval of the Motion, the Purchase Agreement, the

 Ancillary Agreements and the Sale Transaction by this Court is in the best interests of the

 Debtors, their estates, their creditors and all other parties in interest.

         L.      Free and Clear. The transfer of the Assets to the Purchaser under the Purchase

 Agreement will be a legal, valid, and effective transfer, and vests or will vest the Purchaser with

 all right, title, and interest of the Debtors to the Assets free and clear of all Liens (as defined in

 the Purchase Agreement), Claims (as defined in section 101(5) of the Bankruptcy Code),




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 encumbrances, obligations, liabilities, demands, guarantees, options, rights, restrictions,

 contractual commitments, rights of first refusal, rights of setoff, or interests of any kind or nature

 whether known or unknown, legal or equitable, matured or unmatured, contingent or

 noncontingent, liquidated or unliquidated, asserted or unasserted, whether arising prior to or

 subsequent to the commencement of these chapter 11 cases, whether imposed by agreement,

 understanding, law, equity or otherwise (collectively, including without limitation, Liens, Claims

 and other interests, the “Interests”), including, but not limited to, (i) those that purport to give to

 any party a right or option to effect a setoff against or any forfeiture, modification or termination

 of the Debtors’ interests in the Assets, or any similar rights, (ii) all Excluded Liabilities,

 (iii) those arising under all mortgages, deeds of trust, security interests, conditional sale or other

 title retention agreements, pledges, liens, judgments, demands, encumbrances, rights of first

 refusal or charges of any kind or nature, if any, including, but not limited to, any restriction on

 the use, voting, transfer, receipt of income or other exercise of any attributes of ownership, and

 (iv) those arising in connection with any agreements, acts, or failures to act, of any of the

 Debtors or any of the Debtors’ predecessors, affiliates, or Representatives including, but not

 limited to, Interests arising under any bulk-transfer laws, doctrines of successor or transferee

 liability or similar theories, except for Permitted Liens.

         M.      Free and Clear Findings Needed by Purchaser. The Purchaser asserts that it

 would not have entered into the Purchase Agreement and would not consummate the Sale

 Transaction, thus adversely affecting the Debtors, their estates and their creditors, if the sale of

 the Assets to the Purchaser, the assumption and assignment or transfer of any executory contracts

 or unexpired leases to the Purchaser was not free and clear of all Interests of any kind or nature




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 whatsoever, or if the Purchaser would, or in the future could, be liable for any of the Interests

 (other than as agreed to in the Purchase Agreement).

        N.      Satisfaction of Section 363(f) Standards. The Assets constitute property of the

 Debtors’ estates and title thereto is currently vested in the Debtors’ estates within the meaning of

 section 541(a) of the Bankruptcy Code. The Debtors may sell the Assets free and clear of any

 Interests of any kind or nature whatsoever because in each case one or more of the standards set

 forth in section 363(f)(1)-(5) of the Bankruptcy Code has been satisfied. The person or entity

 with any Interest in the Assets: (i) has, subject to the terms and conditions of this Sale Order,

 consented to the Sale Transaction or is deemed to have consented to the Sale Transaction;

 (ii) could be compelled in a legal or equitable proceeding to accept money satisfaction of such

 Interest; or (iii) otherwise falls within the provisions of section 363(f) of the Bankruptcy Code.

 Those holders of Interests who did not object to the Motion are deemed, subject to the terms of

 this Sale Order, to have consented pursuant to section 363(f)(2) of the Bankruptcy Code. All

 holders of Interests are adequately protected by having their Interests attach to the proceeds

 ultimately attributable to the Assets against or in which such Interests are asserted and the terms

 of such Interests, with the same validity, force and effect, and in the same order of priority

 (subject and subordinate in all respects to the Carve-Out Expenses, the Critical Expenses, the

 Estimated Wind Down Expenses, and the Administrative Priority Expenses), which such

 Interests now have against the Assets or their proceeds, subject to any rights, claims and defenses

 the Debtors or their estates, as applicable, may possess with respect thereto.

        O.      No Successor Liability. Except for the Assumed Liabilities, the transfer of the

 Assets to the Purchaser under the Purchase Agreement shall not result in the Purchaser having

 any liability or responsibility for (i) any Interest against the Debtors or against an insider of the




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 Debtors, (ii) the satisfaction in any manner, whether at law or in equity, whether by payment,

 setoff or otherwise, directly or indirectly, of any Interest or Excluded Liability, or (iii) to third

 parties or the Debtors, except as is expressly set forth in the Purchase Agreement. Without

 limiting the effect or scope of the foregoing, the transfer of the Assets from the Debtors to the

 Purchaser does not and will not subject the Purchaser or its affiliates, successors or assigns or

 their respective properties (including the Assets) to any liability for Interests against the Debtors

 or the Debtors’ Interests in such Assets by reason of such transfer under the laws of the United

 States or any state, territory, possession thereof, or the District of Columbia applicable to such

 Sale Transactions, including, without limitation, any bulk-transfer laws, successor liability or

 similar theories. The Purchaser is not a continuation of the Debtors or their respective estates

 and there is no continuity between the Purchaser and the Debtors. The Purchaser is not holding

 itself out to the public as a continuation of the Debtors or their respective estates and the Sale

 Transaction does not amount to a consolidation, merger or de facto merger of the Purchaser and

 the Debtors. Notwithstanding the foregoing, nothing in this Order or the Purchase Agreement

 releases, nullifies, or enjoins the enforcement of any liability to a governmental unit under

 environmental laws or regulations (or any associated liabilities for penalties, damages, cost

 recovery, or injunctive relief) that any entity would be subject to as the owner, lessor, lessee, or

 operator of the property after the date of entry of this Order. Nothing contained in this Order or

 in the Purchase Agreement shall in any way (i) diminish the obligation of any entity to comply

 with environmental laws, or (ii) diminish the obligations of the Debtors to comply with

 environmental laws consistent with their rights and obligations as debtors in possession under the

 Bankruptcy Code. Notwithstanding the foregoing sentence, nothing in this Order shall be

 interpreted to deem the Purchaser as the successor to the Debtors under any state law successor




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 liability doctrine with respect to any liabilities under environmental laws or regulations for

 penalties for days of violation prior to entry of this Order. Nothing in this paragraph should be

 construed to create for any governmental unit any substantive right that does not already exist

 under law.

        P.      Assumption/Assignment. The assumption and assignment procedures set forth

 herein are fair and reasonable and provide interested parties with adequate notice and ample

 opportunity to protect their respective rights and Interests in the Contracts and unexpired leases

 of real property. The assumption and assignment or transfer of the Purchaser Assumed Contracts

 is integral to the Purchase Agreement, does not constitute unfair discrimination, and is in the best

 interests of the Debtors and their estates, creditors and all other parties in interest, and represents

 the reasonable exercise of sound and prudent business judgment by the Debtors.

        Q.      Personally Identifiable Information. The sale includes the transfer of

 “Personally Identifiable Information” (as defined in section 101(41A) of the Bankruptcy Code.

 The sale is consistent with the Debtors’ policy in existence as of the Commencement Date

 prohibiting the transfer of certain Personally Identifiable Information.

        R.      Immediate Consummation of Sale. There is no legal or equitable reason to

 delay the Sale Transaction.

        S.      Sale Hearing. All findings of fact and conclusions of law made or announced by

 the Court at the Sale Hearing are incorporated herein.

        NOW, THEREFORE, IT IS ORDERED THAT:

        1.      Motion is Granted. The Motion and the relief requested therein is GRANTED

 and APPROVED, as set forth herein.




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        2.      Objections Overruled. Other than objections related to the assumption and

 assignment of Purchaser Assumed Contracts which shall be heard in connection with the

 assumption and assignment of the Purchaser Assumed Contracts, any objections to the entry of

 this Sale Order or the relief granted herein and requested in the Motion that have not been

 withdrawn, waived, or settled, or not otherwise resolved pursuant to the terms hereof, if any,

 hereby are denied and overruled on the merits, with prejudice.

        3.      Approval. The Purchase Agreement and the Ancillary Agreements and all of the

 terms and conditions thereto are hereby approved. Debtors are hereby authorized to (i) execute

 the Purchase Agreement and the Ancillary Agreements, along with any additional instruments or

 documents that may be reasonably necessary or appropriate to implement the Purchase

 Agreement, provided that such additional documents do not materially change its terms;

 (ii) consummate the Sale Transaction in accordance with the terms and conditions of the

 Purchase Agreement, the Ancillary Agreements, and the other agreements contemplated thereby;

 (iii) subject to paragraph 8 below, assume and assign to Purchaser the Purchaser Assumed

 Contracts; and (iv) take all other and further actions as may be reasonably necessary to

 implement the Sale Transaction. The Debtors’ selection of the Cobalt Bid as the Back-Up Bid is

 hereby approved.

        4.      Valid Transfer. As of the Closing, (i) the Sale Transaction effects a legal, valid,

 enforceable and effective sale and transfer of the Assets to Purchaser, and shall vest Purchaser

 with title to such Assets free and clear of all Interests of any kind whatsoever other than as

 provided in the Purchase Agreement and (ii) the Purchase Agreement, the Ancillary Agreements,

 the Sale Transaction and any instruments contemplated thereby shall be enforceable against and

 binding upon, and not subject to rejection or avoidance by, the Debtors or any successor trustee




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 appointed with respect thereto. All persons or entities, presently or on or after Closing, in

 possession of some or all of the Assets are directed to surrender possession of the Assets to the

 Purchaser or its designee on the Closing or at such time thereafter as the Purchaser requests.

        5.      General Assignment. On the Closing, this Sale Order shall be construed and

 shall constitute for any and all purposes a full and complete general assignment, conveyance and

 transfer of the Debtors’ interests in the Assets. Each and every federal, state, and local

 governmental agency or department is hereby directed to accept any and all documents and

 instruments necessary and appropriate to consummate the Sale Transaction.

        6.      Injunction. Except as expressly permitted by the Purchase Agreement or by this

 Sale Order, all persons and entities, including, but not limited to, all debt security holders, equity

 security holders, governmental, tax and regulatory authorities, lenders, trade creditors, litigation

 claimants and other persons holding Interests of any kind or nature whatsoever against or in the

 Debtors or the Debtors’ interests in the Assets (whether known or unknown, legal or equitable,

 matured or unmatured, contingent or noncontingent, liquidated or unliquidated, asserted or

 unasserted, whether arising prior to or subsequent to the commencement of these chapter 11

 cases, whether imposed by agreement, understanding, law, equity or otherwise), arising under or

 out of, in connection with, or in any way relating to, the Debtors, the Assets, the operation of the

 Debtors’ businesses before the Closing or the transfer of the Debtors’ interests in the Assets to

 the Purchaser, shall be and hereby are forever barred, estopped and permanently enjoined from

 asserting, prosecuting or otherwise pursuing Interests against the Purchaser or its property

 (including the Assets). Except as expressly provided in the Purchase Agreement, following the

 Closing, no holder of an Interest against the Debtors shall interfere with Purchaser’s title to or

 use and enjoyment of the Debtors’ interests in the Assets based on or related to such Interests or




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 based on any actions the Debtors may take in their chapter 11 cases, and all such Interests, if any,

 shall be, and hereby are transferred and attached to the proceeds from the Sale Transaction in the

 order of their priority, with the same validity, force and effect which they have against such

 Assets as of the Closing, subject and subordinate in all respects to the Carve-Out Expenses, the

 Critical Expenses, the Estimated Wind Down Expenses, the Administrative Priority Expenses,

 and any other rights, claims and defenses that the Debtors’ estates and Debtors, as applicable,

 may possess with respect thereto.

         7.      No Successor Liability. Except for the Assumed Liabilities, the transfer of the

 Assets to Purchaser under the Purchase Agreement shall not result in (i) the Purchaser or the

 Assets having any liability or responsibility for any Interest against the Debtors or against an

 insider of the Debtors, (ii) the Purchaser or the Assets having any liability whatsoever with

 respect to or be required to satisfy in any manner, whether at law or in equity, whether by

 payment, setoff or otherwise, directly or indirectly, any Interest or Excluded Liability, or (iii) the

 Purchaser or the Assets, having any liability or responsibility to the Debtors except as is

 expressly set forth in the Purchase Agreement. Without limiting the effect or scope of the

 foregoing, as a result of the closing of the Sale Transaction, the Purchaser shall have no

 successor, derivative or vicarious liabilities of any kind or character, including, but not limited

 to, federal, state or other tax liabilities, U.S. or foreign pension liabilities, or liabilities based on

 any theory of successor or transferee liability, antitrust, environmental, labor law, alter ego, veil

 piercing, continuity of enterprise, mere continuation, product line, de facto merger or substantial

 continuity, whether known or unknown, legal or equitable, matured or unmatured, contingent or

 noncontingent, liquidated or unliquidated, asserted or unasserted, whether arising prior to or

 subsequent to the commencement of these chapter 11 cases, whether imposed by agreement,




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 understanding, law, equity or otherwise with respect to the Debtors or any obligations of the

 Debtors, including, but not limited to, in the case of liabilities on account of any taxes arising,

 accruing or payable under, out of, in connection with, or in any way relating to the operation of

 the Assets prior to the Closing or any taxes in connection with, or in any way relating to the

 cancellation of debt of the Debtors or their Affiliates.

        8.      Assumption and Assignment Procedures for Purchaser Assumed Contracts.

 The Purchaser shall have the right to designate any Contract as a Purchaser Assumed Contract in

 accordance with the following procedures:

                (a)     As soon as possible after entry of this Order, but no later than (i) two
                        (2) Business Days prior to Closing, or (ii) April 16, 2011 in the case of
                        any Purchaser Assumed Contract the assumption and assignment of which
                        is to be considered at the April 21 Hearing (as defined below), the
                        Purchaser shall provide the Debtors in writing with a schedule (the “PAC
                        Designation Schedule”) of Contracts to be included as Purchaser
                        Assumed Contracts, subject to the Purchaser’s right to add or remove
                        Contracts pursuant to the Purchase Agreement, including, without
                        limitation, under sections 2.5(b)-2.5(d) thereof.
                (b)     Within two (2) calendar days after receipt of the PAC Designation
                        Schedule, the Debtors shall file with the Court and serve on each
                        counterparty to a Purchaser Assumed Contract and their counsel of record,
                        if known, by email, facsimile or overnight mail and publish on the website
                        maintained by the Debtors’ court-appointed claims agent, Kurtzman
                        Carson Consultants, at www.kccllc.net/blockbuster, a copy of the
                        applicable Assumption, Assignment, and Cure Notice and Adequate
                        Assurance Package, which shall include the name of the assignee, the
                        proposed use of the premises if a real property lease and evidence of
                        adequate assurance of future performance. Affected Counterparties may
                        file a written objection to the proposed assumption and assignment of their
                        Purchaser Assumed Contract no later than the later of (i) two calendar
                        days following the date of the filing of the Assumption, Assignment and
                        Cure Notice, or (ii) April 19, 2011 at 12:00 p.m. noon (New York Time);
                        provided, however, that to the extent that any Contract was included on
                        either (x) the Amended Designated Contracts – Other Than Store Leases
                        [Docket No. 1435] or (y) Amended Designated Contracts – Stores Leases
                        [Docket No. 1436] (each, a “Designated Contract” and, collectively, the
                        “Designated Contracts” and (x) and (y), together, being the “Designated
                        Contracts Schedules”) any counterparty to any Designated Contract may
                        only file further objections to the assumption and assignment of its


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                     Purchaser Assumed Contract on the basis of the identity of the Purchaser
                     and its ability to perform thereunder and any additional Cure Amounts
                     accrued if the Closing Date occurs after April 21, 2011 or, to the extent
                     that the counterparty’s Contract is on the PAC Designation Schedule and
                     the Cure Amount set forth therein has changed since the filing of the
                     Designated Contracts Schedule, such counterparty may file a further
                     objection with respect to such amended Cure Amount.
               (c)   If no objection is timely received, (i) the counterparty to such Purchaser
                     Assumed Contract shall be deemed to have consented to the assumption
                     and assignment of its Contract as a Purchaser Assumed Contract to the
                     Purchaser and shall be forever barred from asserting any objection with
                     regard to such assumption and assignment, and (ii) the Cure Amount set
                     forth in the Assumption, Assignment and Cure Notice (or, to the extent
                     applicable, the Designated Contracts Schedules, as amended, if applicable,
                     by the PAC Designation Schedule) shall be controlling, notwithstanding
                     anything to the contrary in any Purchaser Assumed Contract, or any other
                     document, and the counterparty to such Purchaser Assumed Contract
                     shall be deemed to have consented to the Cure Amount and shall be
                     forever barred from asserting any other Claims or Cure Amount related to
                     such Purchaser Assumed Contract against the Debtors or the Purchaser, or
                     the property of any of them.
               (d)   Any objections that (i) are timely filed pursuant to subparagraph (b)
                     above, or (ii) were filed prior to the date hereof and in accordance with
                     paragraph 13(b) of the Bid Procedures Order, are preserved and will be
                     heard by the Court at a hearing prior to the assumption and assignment of
                     such Purchaser Assumed Contracts; provided, however, that if the terms
                     and conditions of the assumption and assignment of any Purchaser
                     Assumed Contract are not acceptable to the Purchaser, the Purchaser may
                     remove such Contract from the PAC Designation Schedule. The Court
                     shall hold a hearing on April 21, 2011 at 11:00 a.m. (New York time) (the
                     “April 21 Hearing”), at which time the Court shall consider the approval
                     of the assumption and assignment of the Purchaser Assumed Contracts to
                     Purchaser.
               (e)   In the event that Purchaser removes a Purchaser Assumed Contract from
                     the PAC Designation Schedule prior to Closing, the Court shall not
                     consider the assumption and assignment of such Contract to Purchaser. In
                     the event that Purchaser adds a Contract to the PAC Designation Schedule
                     with insufficient time to meet the notice requirements set forth in sub-
                     paragraph (b) hereof before the April 21 Hearing, the Court shall set a
                     hearing (which may occur before or after the Closing) to consider the
                     approval of the assumption and assignment of any such Purchaser
                     Assumed Contract consistent with the notice requirements set forth in sub-
                     paragraph (b) hereof.
               (f)   If the Closing occurs before the Court has approved the assumption and
                     assignment of a Purchaser Assumed Contract to Purchaser, the Purchaser


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                       shall pay, or promptly reimburse the Debtors for, the Contract
                       Maintenance Costs associated with any such Purchaser Assumed Contract
                       for the period between the date of Closing and the earlier of (i) the
                       assumption and assignment of any such Purchaser Assumed Contract to
                       Purchaser, or (ii) the date the Purchaser notifies the Debtors in writing of
                       its election not to assume such Purchaser Assumed Contract.
                (g)    Subject to the foregoing, the Purchaser Assumed Contracts, whether
                       entered into before or after the Commencement Date, shall be assigned to
                       the Purchaser, free and clear of all Interests of any kind or nature
                       whatsoever other than the Assumed Liabilities, and shall remain in full
                       force and effect for the benefit of the Purchaser in accordance with their
                       respective terms, notwithstanding any provision in any such Purchaser
                       Assumed Contracts (including those of the type described in sections
                       365(b)(2) and (f) of the Bankruptcy Code) that prohibits, restricts, or
                       conditions any assignment, transfer or sublease. Pursuant to Bankruptcy
                       Code section 365(k), to the extent allowable under applicable law, the
                       Debtors shall be relieved from any further liability whatsoever with
                       respect to the Purchaser Assumed Contracts after such assignment to the
                       Purchaser whether related to the period prior to or after the
                       Commencement Date. The Debtors are authorized to execute and deliver
                       to the Purchaser such documents or other instruments and to take such
                       other actions as may be necessary to assign the Purchaser Assumed
                       Contracts to the Purchaser at Closing.
                (h)    Upon the Closing (or, if later, upon the assignment of such Purchaser
                       Assumed Contract to Purchaser) and the payment of the relevant Cure
                       Amounts by the Purchaser, Purchaser shall be deemed to be substituted for
                       the Debtors as a party to the applicable Purchaser Assumed Contracts and
                       the Debtors shall be released, pursuant to section 365(k) of the Bankruptcy
                       Code, to the extent allowable under applicable law, from any liability
                       under the Purchaser Assumed Contracts. There shall be no rent
                       accelerations, assignment fees, increases or any other fees charged to
                       Purchaser solely as a result of the assumption and assignment of the
                       Purchaser Assumed Contracts. The assignments of each of the Purchaser
                       Assumed Contracts are made in good faith under sections 363(b) and
                       363(m) of the Bankruptcy Code.
                If an objection is or has been timely filed with respect to any Purchaser Assumed

 Contract pursuant to subparagraph (b) above or prior to the date hereof and in accordance with

 paragraph 13(b) of the Bid Procedures Order, the ability of the Debtors to assume and assign

 such Purchaser Assumed Contract to the Purchaser, the Cure Amount, and adequate assurance of

 performance by the Purchaser are subject to further orders of this Court governing the



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 assumption and assignment of such Purchaser Assumed Contract. Upon entry of an order

 approving the assumption and assignment of any Purchaser Assumed Contract to Purchaser and

 unless such order provides otherwise, all findings of fact and conclusions of law of this Sale

 Order shall apply in full force and effect to such Purchaser Assumed Contract.

        9.      Payment of Cure Amounts. Subject to the right of the Purchaser to remove any

 Purchaser Assumed Contract from the schedule of Purchaser Assumed Contracts (including as

 set forth in the proviso to paragraph 8(d) hereof), the Purchaser shall be obligated to pay or cause

 to be paid any and all Assumed Cure Costs (collectively, the “Cure Amounts”) under any

 Purchaser Assumed Contracts assumed by the Debtors and assigned to the Purchaser. The

 Purchaser shall pay any Cure Amount for each Purchaser Assumed Contract on or prior to

 Closing, or if later, the date the Court enters an order approving the assumption and assignment

 of a Purchaser Assumed Contract; provided, however, that if the Purchaser consents to the

 assignment of a Purchaser Assumed Contract prior to the resolution of a disputed Cure Amount,

 the Purchaser shall pay the undisputed portion of the Cure Amount as set forth in the preceding

 clause and shall pay any disputed portion of the Cure Amount as soon as reasonably practicable

 after (i) the date on which the contracting counterparty consents in writing to the Cure Amount,

 (ii) the date on which the counterparty is deemed to have consented, or (iii) the date on which the

 Court enters an order determining the Cure Amount.

        10.     Cure Amounts for Purchaser Assumed Contracts. Subject to Court approval

 of the assumption and assignment of a Purchaser Assumed Contract , each counterparty to a

 Purchaser Assumed Contract, whether entered before or after the Commencement Date, will be

 forever barred, estopped, and permanently enjoined from (i) asserting against the Debtors or the

 Purchaser, or the property of either of them, any default existing as of Closing; or, against the




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 Purchaser, any counterclaim, defense, setoff or any other Interest asserted or assertable against

 the Debtors; and (ii) imposing or charging against Purchaser or its Affiliates any accelerations,

 assignment fees, increases or any other fees solely as a result of the Debtors’ assumption and

 assignment to Purchaser of the Purchaser Assumed Contract. To the extent that any counterparty

 failed to object timely to the Cure Amount with respect to a Designated Contract by the

 Objection Deadline and further fails to object to any subsequent notice of assumption and

 assignment on the terms set forth in paragraph 8 above, such counterparty is deemed to have

 consented to such Cure Amount and the assignment of such Designated Contract to the

 Purchaser.

        11.     Ipso Facto Clauses Ineffective. Upon the Debtors’ assignment of the Purchaser

 Assumed Contracts to the Purchaser under the provisions of this Sale Order and any additional

 order contemplated by this Sale Order or the Purchase Agreement, and subject to the timely

 payment of the applicable Cure Amount, no default shall exist under any Purchaser Assumed

 Contract, and no counterparty to any Purchaser Assumed Contract shall be permitted to declare a

 default thereunder, or otherwise take action against the Purchaser, as a result of any Debtor’s

 financial condition, bankruptcy or failure of the Debtor to perform any of its obligations under

 the relevant Purchaser Assumed Contract. Any provision in a Purchaser Assumed Contract that

 prohibits or conditions an assignment or sublease of such Purchaser Assumed Contract

 (including without limitation, the granting of a lien therein) or allows the counterparty thereto to

 terminate, recapture, impose any penalty, condition on renewal or extension, or modify any term

 or condition on account of such assignment or sublease, constitutes an unenforceable anti-

 assignment provision in connection with the Sale Transaction that is void and of no force and

 effect. The failure of the Debtors or the Purchaser to enforce at any time one or more terms or




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 conditions of any Purchaser Assumed Contract shall not be a waiver of such terms or conditions,

 or of the Debtors’ and Purchaser’s rights to enforce every term and condition of the Purchaser

 Assumed Contract.

         12.     Rejection Deadline Extension. The deadline for assuming or rejecting an

 unexpired lease of nonresidential real property under which a Debtor is the lessee shall be

 extended to such date as agreed in writing between the applicable lessor and the Debtor pursuant

 to section 365(d)(4)(B)(ii) of the Bankruptcy Code. Solely with respect to unexpired leases of

 nonresidential real property where no such extension was granted, the deadline to assume or

 reject such leases is April 21, 2011.

         13.     Binding Effect of Order. This Sale Order shall be binding upon and shall

 govern the acts of all entities, including without limitation all filing agents, filing officers, title

 agents, title companies, recorders of mortgages, recorders of deeds, registrars of deeds,

 administrative agencies, governmental departments, secretaries of state, federal, state and local

 officials, and all other persons and entities who may be required by operation of law, the duties

 of their office, or contract, to accept, file, register or otherwise record or release any documents

 or instruments, or who may be required to report or insure any title or state of title in or to any of

 the Assets. The terms and provisions of the Purchase Agreement, the Ancillary Agreements and

 this Sale Order shall be binding in all respects upon the Debtors, the Debtors’ estates, all

 creditors of (whether known or unknown) and holders of equity interests in either the Debtors,

 Purchaser and their respective affiliates, successors and assigns, and any third parties,

 notwithstanding any subsequent appointment of any trustee of the Debtors under any chapter of

 the Bankruptcy Code, as to which trustee(s) such terms and provisions likewise shall be binding.




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        14.     Release of Interests. This Sale Order shall be effective as a determination that,

 on the Closing, except as otherwise provided in the Purchase Agreement, all Interests of any kind

 or nature whatsoever existing as to the Assets prior to the Closing have been unconditionally

 released, discharged and terminated, and that the conveyances described herein have been

 effected. If any person or entity that has filed financing statements, mortgages, mechanic’s liens,

 lis pendens, or other documents or agreements evidencing Interests against or in the Assets shall

 not have delivered to the Debtors prior to Closing, in proper form for filing and executed by the

 appropriate parties, termination statements, instruments of satisfactions, releases of all Interests

 that the person or entity has with respect to the Assets, or otherwise, (a) the Debtors are hereby

 authorized and directed and the Purchaser is authorized to execute such statements, instruments,

 releases and other documents and take all other actions as may be reasonably necessary on behalf

 of such person or entity to release such Interests in the Assets, if any, as such Interests may have

 been recorded or may otherwise exist, (b) the Purchaser is hereby authorized to file, register or

 otherwise record a certified copy of this Order, which, once filed, registered or otherwise

 recorded, shall constitute conclusive evidence of the release of all Interests against the applicable

 Assets, and (c) the Purchaser may seek in this Court or any other court to compel appropriate

 parties to execute termination statements, instruments of satisfaction and releases of all Interests

 with respect to the Assets other than Assumed liabilities. To the maximum extent permitted

 under applicable law, the Purchaser shall be authorized, as of the Closing Date, to operate under

 any license, permit, registration and governmental authorization or approval of the Debtors with

 respect to the Assets.

        15.     Retention of Jurisdiction. In addition to the provisions of Section 12.5 of the

 Purchase Agreement, this Court retains jurisdiction, pursuant to its statutory powers under 28




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 U.S.C. § 157(b)(2), to, among other things, interpret, implement, and enforce the terms and

 provisions of this Sale Order, the Purchase Agreement and the Ancillary Agreements, all

 amendments thereto and any waivers and consents thereunder, including, but not limited to,

 retaining jurisdiction to (i) compel delivery of the Assets to Purchaser; (ii) interpret, implement

 and enforce the provisions of this Sale Order and any related order; (iii) determine any disputes

 or claims with respect to the Purchase Agreement and Ancillary Agreements, and (iv) enter any

 orders under section 363 and 365 of the Bankruptcy Code with respect to the Purchaser Assumed

 Contracts.

        16.     Retention of Rights By the Government. Nothing in this Sale Order or in the

 Purchase Agreement (i) releases, nullifies, or enjoins the enforcement of any liability to a

 governmental unit under police and regulatory statutes or regulations that any entity would be

 subject to as the owner or operator of property after the date of entry of this Sale Order; or

 (ii) should be construed to give Purchaser any more protection against any government unit than

 it is otherwise entitled to under 11 U.S.C. § 363(f). Nothing in this paragraph should be

 construed to create for any governmental unit any substantive right that does not already exist

 under law.

        17.     Sale Proceeds. Subject and subordinate in all respects to Carve-Out Expenses,

 the Critical Expenses, the Estimated Wind Down Expenses, the Administrative Priority

 Expenses, and the Expense Reimbursement, any and all valid and perfected Interests in the

 Assets of the Debtors shall attach to any proceeds of such Assets immediately upon receipt of

 such proceeds by the Debtors (or any party acting on any Seller’s behalf) in the order of priority,

 and with the same validity, force and effect which they now have against such Assets, subject to

 any rights, claims and defenses the Debtors, the Debtors’ estates or any trustee for any Debtor, as




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 applicable, may possess with respect thereto, in addition to any limitations on the use of such

 proceeds pursuant to any provision of this Sale Order.

        18.     No Material Modifications. The Purchase Agreement, Ancillary Agreements

 and any related agreements, documents or other instruments may be modified, amended or

 supplemented by the Purchaser and the Debtors (after consultation with the Creditors’

 Committee) in a writing signed by such parties, and in accordance with the terms thereof,

 without further order of the Court, provided that any such modification, amendment or

 supplement does not materially change the terms of the Purchase Agreement or modify the

 express terms of this Sale Order.

        19.     Subsequent Orders and Plan Provisions. Except as provided in paragraph 28

 hereof, nothing contained in any subsequent order of this Court or any court of competent

 jurisdiction in these or other chapter 11 cases (including without limitation, an order authorizing

 the sale of assets pursuant to sections 363, 365, or any other provision of the Bankruptcy Code)

 or any order entered after any conversion of a chapter 11 case of the Debtors to a case under

 chapter 7 of the Bankruptcy Code or any chapter 11 plan confirmed in any Debtors’ bankruptcy

 cases or any order confirming any such plan shall nullify, alter, conflict with, or in any manner

 derogate from the provisions of the Bid Procedures Order or this Sale Order, and the provisions

 of the Bid Procedures Order or this Sale Order shall survive and remain in full force and effect.

 The terms of this Sale Order shall control to the extent of any conflict or derogation. For the

 avoidance of doubt, if the Debtors’ chapter 11 cases are converted to cases under chapter 7 of the

 Bankruptcy Code, the Sale Order, and if applicable, the Agency and License Agreement, shall be

 binding on the chapter 7 trustee in such chapter 7 cases.




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        20.     Failure to Specify Provisions. The failure specifically to include any particular

 provisions of the Purchase Agreement in this Sale Order shall not diminish or impair the

 effectiveness of such provisions, it being the intent of the Court that the Purchase Agreement be

 authorized and approved in its entirety.

        21.     Severability. The provisions of this Sale Order are nonseverable and mutually

 dependent.

        22.     Automatic Stay. The automatic stay pursuant to section 362 of the Bankruptcy

 Code is hereby lifted with respect to the Debtors to the extent necessary, without further order of

 the Court to allow the Purchaser to (i) give the Debtors any notice provided for in the Purchase

 Agreement, and (ii) take any and all actions permitted by the Purchase Agreement and Ancillary

 Agreements in accordance with the terms and conditions thereof.

        23.     No Stay of Order. Notwithstanding the provisions of Bankruptcy Rule 6004 and

 Bankruptcy Rule 6006 or any applicable provisions of the Local Rules, this Sale Order shall not

 be stayed for fourteen (14) days after the entry hereof, but shall be effective and enforceable

 immediately upon entry. Time is of the essence in approving the Sale Transaction, and the

 Debtors and the Purchaser intend to close the Sale Transaction as soon as practicable. Any party

 objecting to this Sale Order must exercise due diligence in filing an appeal and pursuing a stay,

 or risk its appeal being foreclosed as moot.

        24.     Payment of Cash Purchase Price; Allocation of Proceeds. As set forth in

 section 3.3(c) of the Purchase Agreement, immediately upon the Closing, the Purchaser shall pay

 an amount equal to the Closing Date Payment in immediately available funds, and the Closing

 Date Payment (after payment of the Reimbursable Expenses) (to which the liens of the Senior

 Secured Noteholders will immediately attach) will be paid at Closing, as follows:




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                 (a)     First, cash in an amount necessary to pay and/or create a sufficient reserve
                         to satisfy all Carve-Out Expenses (as defined in the DIP Order, including
                         as provided for in the Post-Carve Out Trigger Cap, as modified in the Bid
                         Procedures Order) shall be deposited into an account designated in writing
                         by the Debtors, which amount will continue to be subject to the liens of
                         the Senior Secured Noteholders and paid out in the priority set forth in this
                         paragraph 24, to the extent that any portion of such amount is not awarded
                         to the applicable professionals.
                 (b)     Second, cash in an amount equal to the amounts due to the DIP Agent
                         and/or Senior Indenture Trustee (as defined in the DIP Order), as
                         applicable, to satisfy and/or create a sufficient reserve necessary for
                         amounts due to them for fees and expenses authorized to be paid under the
                         DIP Order, including, without limitation, under paragraphs 7(d)(iii), 17
                         and 22(c) thereof and under Section 10.4 of the DIP Credit Agreement.
                 (c)     Third, cash in an amount equal to the amounts due under the DIP Credit
                         Agreement (other than the Roll-Up Notes) which shall be paid to the DIP
                         Agent for immediate distribution to the DIP Lenders in accordance with
                         the DIP Credit Agreement.
                 (d)     Fourth, cash in an amount equal to $12.5 million to pay the Estimated
                         Wind Down Expenses pursuant to the express line items in the Wind-
                         Down Budget (but only to the extent such Estimated Wind Down
                         Expenses have not been previously paid pursuant to the Sale Budget),
                         which amount will be held in a segregated account by the Debtors.
                 (e)     Fifth, $20,000,000 in cash to be escrowed pursuant to Section 3.3 of the
                         Purchase Agreement for certain purchase price adjustments payable by the
                         Debtors pursuant to Section 3.4 of the Purchase Agreement, which amount
                         will continue to be subject to the liens of the Senior Secured Noteholders
                         and paid out in the priority set forth in this paragraph 24 to the extent that
                         any portion of such escrow is paid to the Debtors.
                 (f)     Sixth, cash in an amount up to $10 million to the Debtors for the payment
                         of Critical Expenses to the extent not paid from Cash Collateral, which
                         Critical Expenses the Debtors may pay in the ordinary course of business.
                 (g)     Seventh, to each Specified Studio,4 in full and complete satisfaction of all
                         “revenue share”, “previously rented product” and other end-of-term

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     Notwithstanding anything contained in the Motion or the Purchase Agreement to the contrary, the
     term “Specified Studios” shall mean Twentieth Century Fox Home Entertainment LLC, Sony
     Pictures Home Entertainment Inc., Warner Home Video, a Division of Warner Bros. Home
     Entertainment Inc., Paramount Home Entertainment Inc., Universal Studios Home Entertainment
     LLC, The Walt Disney Company, and Summit Entertainment LLC together with their respective
     Studio Affiliates that are engaged in the distribution of packaged and digital audio-visual media. For
     purposes of this Order, (i) "Studio Affiliate" means, with respect to any Specified Studio, any direct
     or indirect subsidiary of such Specified Studio, and any other Person (as such term is defined in the
     Purchase Agreement) that, directly or through one or more intermediaries, is controlled by such
     Specified Studio; and (ii) “controlled” shall mean the possession, directly or indirectly, of the power


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                       obligations of the Debtors that would otherwise be payable as a result of
                       or at closing under any and all Revenue Sharing Agreements between the
                       Debtors and any Specified Studio, cash in an amount equal to 50% of the
                       aggregate amount of all such obligations to such Specified Studio as
                       calculated using the actual decay curve methodology set forth on Exhibit
                       “F” to the Bid Procedures Order, provided, that in no event shall the
                       amount of such payment to any Specified Studio exceed the product of
                       $4,400,000 multiplied by such Specified Studio’s pro rata share of such
                       distribution.
               (h)     Eighth, cash in an amount equal to $3,000,000, in full and complete
                       satisfaction of all liabilities and obligations of the Debtors to the Specified
                       Studios with respect to all pre- and post-closing date “Certified Field
                       Destroy” units (“CFDs”), such payment to be allocated ratably on a per-
                       disk basis to the Specified Studios otherwise entitled to CFD with respect
                       to such disks.
               (i)     Ninth, cash in an amount sufficient to pay the aggregate outstanding
                       amount of any unpaid and accrued, valid Administrative Priority Expenses
                       solely in an amount equal to the difference between (i) any amounts
                       actually paid to any supplier or provider of goods and services during the
                       Sale Process Period (as defined below) per the Sale Budget and (ii) the
                       amount expressly budgeted for such supplier or provider pursuant to the
                       Sale Budget, notwithstanding how the supplier or provider applies such
                       payments received nor the manner in which the Debtors remit such
                       payments to the supplier or provider (other than the new accruals of
                       Revenue Share Fees and PRP Fees that accrue from March 7, 2011
                       through the Closing Date that are paid in accordance with paragraph
                       18(c) of the Bid Procedures Order), which amount shall be paid to an
                       account designated in writing by the Debtors at least two (2) business days
                       prior to the closing of the Sale Transaction for payment thereof.
               (j)     Tenth, cash in an amount equal to $125 million to satisfy in full the Roll-
                       Up Notes, which amount shall be paid to the Senior Indenture Trustee (or
                       pursuant to his instructions) for immediate distribution to the Roll-Up
                       Noteholders.
               (k)     Eleventh, cash in an amount equal to $4 million, which shall be deposited
                       in the Administrative Account to be allocated as set forth in paragraph 19
                       of the Bid Procedures Order.

               (l)     Twelfth, the remaining balance of any sale proceeds shall be paid in the
                       following order: (x) first, (1) 75% of any such amounts shall be paid to the
                       Senior Indenture Trustee (or pursuant to its directions) for immediate


    to direct or cause the direction of the management or policies (whether through ownership of
    securities or partnership or other ownership interests, by Contract (as such term is defined in the
    Purchase Agreement) or representation on the board or similar governing body).



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                       distribution to the holders of Senior Secured Notes up to the outstanding
                       amount owed to the Senior Secured Noteholders on account of their
                       Senior Secured Notes Claims; and (2) 25% of any such sale proceeds shall
                       be paid to the Administrative Account up to the amount of unpaid Pre-Sale
                       Period Administrative Claims, which is to be allocated as set forth in
                       paragraph 19 of the Bid Procedures Order; (y) second, the remaining
                       balance of sale proceeds, if any, after satisfaction of (x) shall be paid to the
                       Senior Indenture Trustee (or pursuant to its directions) for immediate
                       distribution to the holders of Senior Secured Notes up to the outstanding
                       amount owed to the Senior Secured Noteholders on account of their
                       Senior Secured Notes Claims; and (z) third, the remaining balance of sale
                       proceeds, if any, after satisfaction of (x) and (y) shall be paid to the
                       Debtors.
 For the avoidance of doubt, the payments to the Specified Studios and their affiliates pursuant to

 the foregoing paragraph shall entitle the Debtors, the Purchaser, and/or any other third party

 agent of the foregoing to sell all product or CFDs to which such payment relates free and clear of

 any liabilities, liens, encumbrances, or obligations owed to such Specified Studios or their

 affiliates on account of such product or CFDs.

        25.     Blockbuster Canada Co. Any references herein to the (i) Purchase Agreement

 shall include any Ancillary Agreement that provides for the purchase or other similar transfer of

 the equity interests of Blockbuster Canada Co. (the “Canadian Agreement”), and (ii) Closing

 shall mean, as applicable, the Closing under the Purchase Agreement or the closing under the

 Canadian Agreement. For the avoidance of doubt, (i) the transfer of the equity interests of

 Blockbuster Canada Co. shall be governed in all respects by the Canadian Agreement and the

 terms and conditions thereof, (ii) the Closing under the Purchase Agreement does not require the

 closing under the Canadian Agreement to occur and (iii) nothing in this Sale Order requires the

 closing under the Canadian Agreement to occur.

        26.     Avoidance Actions. Avoidance actions under chapter 5 of the Bankruptcy Code

 are not Assets transferred to the Purchaser under the Purchase Agreement and the Debtors hereby




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 permanently, unconditionally, and irrevocably waive and release all such causes of action upon

 entry of this Order.

        27.     Taxing Authorities’ Objections. In resolution of the objections of the County of

 Anderson, Texas, et al (as set forth in Docket No. 1229); Lewisville Independent School District

 and Carrollton-Farmers Branch Independent School District (Docket No. 974); Alamo Heights,

 et al. (as set forth in Docket No. 1007); Burleson ISD, et al. (as set forth in Docket No. 982);

 Mobile County, Alabama; and Douglas County, Colorado (collectively the "Objecting Tax

 Authorities"), the Debtors shall maintain, as adequate protection for the secured claims of the

 Objecting Tax Authorities, a cash reserve in an amount equal to the sum of: (i) ad valorem taxes

 of such Objecting Tax Authorities assessed and unpaid against the business personal property

 and owned real estate of the Debtors for prepetition tax years, and (ii) for ad valorem taxes

 incurred as of the Closing of such Objecting Tax Authorities not yet assessed for the 2011 tax

 year but for which Ad Valorem Liens (as defined in the DIP Order) have attached against, an

 amount based on the prior year's assessed ad valorem taxes; provided, however, that in aggregate

 such reserve shall be no greater than an amount equal to $1,700,000. The liens of the Objecting

 Tax Authorities shall attach to these funds with the same priority and to the same extent as they

 now hold on the property being sold. The reserve of such funds shall be on the order of adequate

 protection and shall constitute neither the allowance of the claims of the Objecting Tax

 Authorities, nor a cap on the amounts they may be entitled to receive. Furthermore, the claims

 and liens of the Objecting Tax Authorities shall remain subject to any objections any party in

 interest would otherwise be entitled to raise as to the amount of such claims or the priority,

 validity, or extent of such liens. These funds may be distributed upon agreement between the




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 Objecting Tax Authorities, the Debtors, and the DIP Lenders or by subsequent order of the

 Court, duly noticed to the Objecting Tax Authorities.

          28.   Assumption and Assignment Orders. If an objection is or has been timely filed

 with respect to any Purchaser Assumed Contract pursuant to paragraph 8(b) hereof or prior to the

 date hereof in accordance with paragraph 13(b) of the Bid Procedures Order, then with respect to

 such Purchaser Assumed Contract (a) the provisions of paragraphs L, O, 5, 6, 7, 8(g), 8(h), 11

 and 14 hereof will be subject to any further order of the Court entered in connection with any

 relief relating to the assumption and assignment of such Purchaser Assumed Contract to

 Purchaser, and (b) nothing herein shall be a determination of any parties’ rights, liabilities, or

 obligations under such Purchaser Assumed Contract in connection with such proposed

 assumption and assignment under section 365 of the Bankruptcy Code.


 Dated:    New York, New York
           April 14, 2011
                                                     /s/Burton R. Lifland
                                                     HONORABLE BURTON R. LIFLAND
                                                     UNITED STATES BANKRUPTCY JUDGE




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